Case 8:19-cr-00200-TDC Document 62 Filed 02/06/20 Page 1 of 10

U.S. Department of Justice

United States Attorney
District of Maryland
Southern Division

 

 

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January 28, 2020

Brendan Hurson, Esq.
Maggie Grace, Esq.
Assistant Federal Public Defenders

 

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Tower II — 9th Floor ——__Longep TH ENTERED
Baltimore, Maryland 21201 SK RECEIVED
FEB g 2o1g
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Re: United States v. Eric Eoin Marques, CLE BK U.S. Disteset
— B DISTRICT OP EICT
Criminal No. TDC-19-200 . ICT OF saan “g

DEPUTy

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, Eric Eoin Marques (hereinafter “Defendant”),
by the United States Attorney’s Office for the District of Maryland (“this Office”). If the
Defendant accepts this offer, please have the Defendant execute it in the spaces provided below.
If this offer has not been accepted by 5:00 p.m. on January 31, 2020, it will be deemed withdrawn.
The plea agreement is entered into and will be submitted to the Court pursuant to Federal
Rule of Criminal Procedure 11(¢)(1)(C). The terms of the Agreement are as follows:

Offense of Conviction

1. The Defendant agrees to plead guilty to Count One of the Indictment, which
charges the Defendant with Conspiracy to Advertise Child Pornography, in violation of 18 U.S.C.
§ 2251(d)(1)(A) & (e). The Defendant admits that the Defendant is, in fact, guilty of the offense
and will so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows: That on or about the time
alleged in the Indictment, in the District of Maryland, (1) two or more persons entered into the
unlawful agreement charged in Count one of the Indictment, that is an agreement to advertise child
pornography; and (2) the Defendant knowingly and willfully became a member of that conspiracy.

Rev. August 2018
Case 8:19-cr-00200-TDC Document 62 Filed 02/06/20 Page 2 of 10

Penalties

3. The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:

 

Minimum | Maximum Supervised | Maximum | Special
Prison Prison Release Fine Assessment
At least 5
18 U.S.C.
8US.C 15 years 30 years years andno | $250,000 $100
§ 2251(d) & (e) ;
more than life

Count Statute

 

 

 

 

 

 

 

 

 

 

a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons
has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

¢. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 2259, 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

&; Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Rev. August 2018
Case 8:19-cr-00200-TDC Document 62 Filed 02/06/20 Page 3 of 10

Waiver of Rights

4, The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The

jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

Cc. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

€. If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in acriminal proceeding for perjury or false
statement.

If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further

Rev. August 2018
Case 8:19-cr-00200-TDC Document 62 Filed 02/06/20 Page 4 of 10

trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and
28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agree that the following United States Sentencing Guidelines (“U.S.S.G.”) apply:

a. The applicable base offense level is 32, pursuant to U.S.S.G. § 2G2.1(a).

b, A 4-level increase applies, pursuant to U.S.S.G. § 2G2.1(b)(1)(A), because
the offense involved a victim who was a minor who had not attained the age of twelve years.

C. A 2-level increase applies, pursuant to U.S.S.G. § 2G2.1(b)(3), because the
Defendant knowingly engaged in distribution of child pornography.

d. A 4-level increase applies, pursuant to U.S.S.G. § 2G2.1(b)(4), because the
offense involved material portraying (A) sadistic or masochistic conduct or other depictions of

violence; or (B) an infant or toddler.

é. A 2-level increase applies, pursuant to U.S.S.G. § 3C1.1, because the
Defendant willfully obstructed or impeded, or attempted to obstruct or impede, the administration

Rev. August 2018
Case 8:19-cr-00200-TDC Document 62 Filed 02/06/20 Page 5 of 10

of justice with respect to the investigation of the instant offense, and the obstructive conduct related
to the Defendant’s offense of conviction.

f. This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a) based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
1-level decrease in recognition of the Defendant’s timely notification of the Defendant’s intention
to enter a plea of guilty. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. § 3E1.1(a), and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(6), if
the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offense; (iii) gives conflicting statements about the Defendant’s involvement
in the offense; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way.

Ts There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11 (c)(1)(C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a sentence of at least 180 months of imprisonment but no more than 252
months of imprisonment in the custody of the Bureau of Prisons is the appropriate disposition of
this case taking into consideration the nature and circumstances of the offense, the Defendant’s
criminal history, and all of the other factors set forth in 18 U.S.C. § 3553(a). This Agreement does
not affect the Court’s discretion to impose any lawful term of supervised release or fine or to set
any lawful conditions of probation or supervised release. In the event that the Court rejects this
Agreement, except under the circumstances noted below, either party may elect to declare the
Agreement null and void. Should the Defendant so elect, the Defendant will be afforded the
opportunity to withdraw his plea pursuant to the provisions of Federal Rule of Criminal Procedure
11(c)(5). The parties agree that if the Court finds that the Defendant engaged in obstructive or
unlawful behavior and/or failed to acknowledge personal responsibility as set forth herein, neither
the Court nor the Government will be bound by the specific sentence contained in this Agreement,
and the Defendant will not be able to withdraw his plea.

Rev. August 2018
Case 8:19-cr-00200-TDC Document 62 Filed 02/06/20 Page 6 of 10

Obligations of the Parties

10.  Atthe time of sentencing, this Office and the Defendant will recommend a sentence
within the stipulated range of at least 180 months of imprisonment but no more than 252
months of imprisonment. The parties agree that this recommendation already takes into account
the time from July 29, 2013 to March 23, 2019 that the Defendant spent in custody in Ireland due
to his arrest by Irish authorities and/or for the time the Defendant spent in Irish custody while he
was fighting extradition to the United States. The parties agree to jointly recommend a condition
of supervised release permitting Defendant to depart the United States to reside in Ireland
immediately upon the completion of any term of imprisonment. Defendant must adhere to all
requirements governing the registration of sex offenders in Ireland including registration with Irish
authorities and any required monitoring. If the defendant departs the United States, the term of
supervision shall be a non-reporting term of supervised release. If the defendant re-enters the
United States during the term of supervised release, the defendant shall report in person within 72
hours to the nearest U.S. Probation Office.

11. The parties reserve the right to bring to the Court’s attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant’s background, character and conduct, including the conduct that is the subject of any
open counts that this Office has agreed to dismiss at sentencing.

Sex Offender Registration

12. The Defendant understands and agrees that, as a consequence of the Defendant’s
conviction for the crimes to which the Defendant is pleading guilty, the Defendant will be required
to register as a sex offender in the place where the Defendant resides, is an employee, and is a
student, pursuant to the Sex Offender Registration and Notification Act (SORNA), and the laws
of the state of the Defendant’s residence. Failure to do so may subject the Defendant to new
charges pursuant to 18 U.S.C. § 2250.

Restitution

13. The Defendant agrees that, pursuant to 18 U.S.C. §§ 2259, 3663 and 3663A, and
3563(b)(2) and 3583(d), the Court may order restitution of the full amount of the actual, total loss
caused by the offense conduct set forth in the factual stipulation. The total amount of restitution
shall be due immediately and shall be ordered to be paid forthwith. Any payment schedule imposed
by the Court establishes only a minimum obligation. Defendant will make a good faith effort to
pay any restitution. Regardless of Defendant’s compliance, any payment schedule does not limit
the United States’ ability to collect additional amounts from Defendant through all available
collection remedies at any time. The Defendant further agrees that the Defendant will fully
disclose to this Office, the probation officer, and to the Court, subject to the penalty of perjury, all
information (including but not limited to copies of all relevant bank and financial records)
regarding the current location and prior disposition of all funds obtained as a result of the criminal
conduct set forth in the factual stipulation. The Defendant further agrees to take all reasonable
steps to retrieve or repatriate any such funds and to make them available for restitution. If the ~

Rev. August 2018
Case 8:19-cr-00200-TDC Document 62 Filed 02/06/20 Page 7 of 10

Defendant does not fulfill this provision, it will be considered a material breach of this Agreement,
and this Office may seek to be relieved of its obligations under this
Forfeiture

14. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property derived
from, or otherwise involved in, the offenses.

15. Specifically, but without limitation on the Government’s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in the following items that the Defendant agrees constitute
money, property, and/or assets derived from or obtained by the Defendant as a result of, or used
to facilitate the commission of, the Defendant’s illegal activities: (a) $154,422.61 in U.S. currency
in the form of a money judgment, with credit given for the funds administratively forfeited by the
FBI on or about March 13, 2015 (Asset IDs 13-FBI-006178 and 13-FBI-006179); and (b) any and
all electronic devices containing child pornography recovered during Irish law enforcement’s
execution of search warrants on July 29, 2013 from the Defendant’s residence, the Defendant’s
vehicle, or the Defendant’s mother’s residence.

16. | The Defendant further agrees to forfeit any visual depiction described in Title 18,
U.S.C. § 2251, or any book, magazine, periodical, film, videotape, electronic media, or other
matter which contains any such visual depiction, which was produced, transported, mailed,
shipped or received in violation of Title 18, United States Code, Chapter 110.

17. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 32.2 and
43(a) regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture
at sentencing, and incorporation of the forfeiture in the judgment. This Office agrees to seek the
Attorney General’s approval to apply forfeited assets to the Defendant’s Restitution Order.

18. The Defendant agrees to assist fully in the forfeiture of the property described
above. The Defendant agrees to disclose all assets and sources of income, to consent to all requests
for access to information related to assets and income, and to take all steps necessary to pass clear
title to the forfeited assets to the United States, including executing all documents necessary to
transfer such title, assisting in bringing any assets located outside of the United States within the
jurisdiction of the United States, and taking whatever steps are necessary to ensure that assets
subject to forfeiture are made available for forfeiture.

19. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Rev. August 2018
Case 8:19-cr-00200-TDC Document 62 Filed 02/06/20 Page 8 of 10

Waiver of Appeal

20. In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute to which the Defendant is pleading guilty is unconstitutional, or on the ground that
the admitted conduct does not fall within the scope of the statute, to the extent that such challenges
legally can be waived.

b. If the Court imposes a sentence within the agreed-upon range of 180
months to 252 months of imprisonment, the Defendant and this Office knowingly and expressly
waive all rights conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including
any term of imprisonment, fine, term of supervised release, or order of restitution) for any reason
(including the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,

order of restitution, and term or condition of supervised release).

co The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Defendant’s Conduct Prior to Sentencing and Breach

21. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

22. ‘If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule

Rev. August 2018
Case 8:19-cr-00200-TDC Document 62 Filed 02/06/20 Page 9 of 10

11(c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Rev. August 2018
Case 8:19-cr-00200-TDC Document 62 Filed 02/06/20 Page 10 of 10

Entire Avreement

23. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. ‘This letter, together with the Scaled Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. ‘here are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all partics and approved by the Court.

If the Defendant fully accepts cach and every term and condition of this Agrecment, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours.
Robert K. Hur

Thomas M. Sullivan
+t . O'Malley
j nited S

  

    
 
   

  

ny Becker, Deputy Chicf
Ralph Paradiso, Trial Attorney

Child Exploitation and Obscenity Section
Department of Justice

| have read this Agreement, including the Scaled Supplement, and carelully revicwed every
part of it with my attorney. | understand it and | voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and | do not wish to
change any part of it. | am completely satisfied with the representation of my attorney.

| /2Y [AQ Dhre Kg poe“

Date Eric Eoin Marques

 

| am the Defendant’s attorney. | have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant adviscs me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant's decision to enter
into this Agreement is an informed and voluntary onc,

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[2722020 CL) weer
Date Brendan A. Hurson, Est} \
Magpie Grace, Esq. ~~ ~.

   

Rev. August 2018
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